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  Attorneys for Defendants Rob Kolkman and Constable Kolkman LLC

                          IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION

   ELIZABETH HERNANDEZ,                                          DECLARATION OF
                                                                  ROB KOLKMAN
           Plaintiff,

   v.                                                           Case No. 2:23-cv-00772

   ROB KOLKMAN; CONSTABLE                                District Judge: Ann Marie McIff Allen
   KOLKMAN LLC; and JOHN DOES 1-5,
                                                          Magistrate Judge: Daphne A. Oberg
           Defendants.




  I, Rob Kolkman, declare and state as follows:

         1.       I am over the age of 21, have personal knowledge of the facts set forth herein, and

  am otherwise competent to testify about the matters set forth herein.

         2.       I am the owner of Constable Kolkman LLC.

         3.       The principal purpose of Constable Kolkman LLC and my role as constable of the

  State of Utah is not the collection of debts.




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         4.      I receive writs of execution upon which I execute, as per the order of the court,

  and I do not collect any debt, as I am not a debt collector.

         5.      In executing the underlying Writ of Execution in this case, I did not threaten the

  Plaintiff or do anything outside of executing the Writ of Execution.

         6.      As part of the fees in this case, the fees included the permitted fees under Utah

  Code § 17-22-2.5, including: (1) $50 “for … executing an … order for the delivery of personal

  property” (Id. at (2)(d)); (2) “$2.50 for each mile” up to “100 miles” for service (Id. at (5)(a)(i));

  (3) $15 for “advertising property for sale on execution” as well as for “postponing” or “canceling

  a sale of property” (Id. at (2)(f) and (k)); and (4) 2% of the first $1,000 of the judgment amount

  and 1.5% for the remaining balance of the judgment amount (Id. at (2)(m)).

         7.      I did not send any collection letters because I am not a debt collector.

         8.      I am a sworn constable of the State of Utah.

         9.      As a sworn constable of the State of Utah, I have relied on and operated under my

  interpretation of the law in Utah which to my knowledge provides that constables are not debt

  collectors under the FDCPA.

         10.     In executing the underlying Writ of Execution per the order of the Court, and to

  avoid the hardship that would come to Plaintiff through selling non-exempt personal property, I

  canceled the sale of property to work with Plaintiff so that she could make payments toward the

  judgment.

         11.     Unbeknownst to me at the time of our communications with Plaintiff, Plaintiff

  was purportedly not the correct individual named on the underlying Writ of Execution, which

  was not our error, but rather, the judgment creditor’s.


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         12.     Upon discovery, we immediately ceased execution efforts.

         13.     At no time did anyone oppose our conduct of seeking to work out a payment plan

  on the judgment amount.

         14.     I employ procedures for avoiding violation of the law as a constable, by (but not

  limited to) reviewing the writs of execution received, and reviewing Utah statutes and rules for

  execution of writs of execution, so as to ensure compliance to the best of my knowledge as a

  constable of the State of Utah.

         15.     Based on my reliance on my interpretation of the law in Utah which provides that

  constables are not “debt collectors” under the FDCPA, my procedures were adapted to avoid

  violating law as constables, not a “debt collector.”

         16.     I did not intentionally violate any law, including the FDCPA.


         I declare under criminal penalty of the State of Utah that the foregoing is true and correct

  to the best of my knowledge and belief.


         DATED this 12th day of June, 2024, State of Utah.


                                                         /s/ Rob Kolkman
                                                         Rob Kolkman (with permission via
                                                         email)




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